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                   Exhibit 2
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                                                 CONFIDENTIAL REPORT
                                                     ON AN INVESTIGATION RELATED TO THE
                                                INTRODUCTION OF A FALSIFIED DOCUMENT DURING
                                                        A FEDERAL COURT PROCEEDING



                                                                November 8, 2024


                                                Mr. Collier:

                                                I have completed my investigation into the
             OURMISSION                         circumstances surrounding the July 12, 2022, Stiles
The mission of the Office of the                Unit Outside Temperature Log introduced into
Independent Auditor is to assist                evidence in U.S. District Court, Western District of
agency administrators by famishing              Texas, on August 2, 2024. It is my opinion, although
independent analyses, appraisals,               the log was not reflective of actual events, there was
and recommendations concerning                  no intent to deceive the court, plaintiffs, or respective
the adequacy and effectiveness ofthe            counsels.
agency's system of internal control
procedures, and the quality of                  I would like to express my thanks to you, the Office
peiformance in carrying out                     of General Counsel, and Correctional Institutions
assigned responsibilities.                      Division leadership for your cooperation during the
                                                investigation. I also extend additional thanks to CID
                                                Region III Director Michael Britt, current Stiles unit
                                                Senior Warden James Danheim, and participating
         TABLE OF CONTENTS                      Stiles unit employees for their assistance and
                                                transparency in these matters.
Results ofI nvest1gat1on
                  • • .................. 2
EVl'dentiary
        • Ex h'b•
              1 tts ....................... 4   This investigation was performed as a service to the
                                                agency and did not constitute an audit. No inference
                                                related to the system of controls related to
                                                temperatures should be made. This report is
             DISTRIBUTION
                                                confidential and only intended for those specifically
                                                listed. Additional distribution may occur at your
Eric Nichols, TBCJ Chairman                     discretion and at the discretion of the TBCJ
Stephanie Greger, General Counsel
                                                Chairman.
Bobby Lumpkin, Chief Operating Officer
Eric Miller, Deputy General Counsel
Michael Britt, Region III Director
James Danheim, Stiles Senior Warden


                                                Chris Cirrito, CIA, CFE, CGAP
                                                Chief Audit Executive
                                                Texas Board of Criminal Justice




                                                                                               TIEDE_DEF0168225
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              RESULTS OF INVESTIGATION

I have completed my investigation into the circumstances surrounding the July 12, 2022, Stiles
Unit outside temperature log (Exhibit l) introduced into evidence during proceedings in U.S.
District Court, Western District of Texas, on August 2, 2024. It is my opinion, although the log
was not reflective of actual events, there was no intent to deceive the court, Office of the Attorney
General, plaintiffs, or counsel. Instead, the log appears to have been created as part of the unit's
actions to comply with an agency-wide effort to collect temperature logs for all prison units in
response to one or more open records requests occurring during the summer of 2022. Collectively,
the evidence supports periods of carelessness in record creation and/or retention and an attempt by
the unit to avoid reporting missing temperature logs.

This investigation concluded the log in question was falsified. Key indicators of falsification
included, but were not limited to:

•     Employee testimony that certain logs were "recreated" for various reasons.
•    All entries on the log appeared to be written in the same ink and in the same handwriting
     (Exhibit 1).
•    A second log (Exhibit 2), representing the same date as Exhibit 1, was maintained in the unit
     file, completed in different handwriting, but contained the same irregularities.
•    The handwriting for one officer on both logs (Exhibit 1 and l), was not consistent with the
     officer's handwriting on a current log (Exhibit 3).
•    The officers on the log were not listed on the shift rosters (Exhibits 4 - §_) as working the
     position (Perimeter Picket A) responsible for completing the log at the times in question.
•    Numerous logs for other dates contained the same indicators of falsification mentioned in
     the second bullet (Exhibit 9).
•    The unit file coversheet for June 2022 (Exhibit 10) contained several dates in which there
     was a"?" in the remarks section subsequently covered with a" ✓". A search of employee
     emails resulted in discovery of a document (Exhibits 11 - Ll) titled "Logs Not Turned In",
     although the unit file contained logs for dates listed in the document. Comparison of the unit
     file coversheet to the "Logs Not Turned In" document revealed most of the dates aligned.


The temperature log displayed in court was obtained by the Office of the General Counsel via
coordination of an open records request occurring in the summer of 2022. Through interviews
with current staff and staff formerly assigned to the Stiles Unit, and a review of relevant
documentation, I was able to create an evidence-based conclusion I believe accurately reflects
events.

On August 10, as a coordinated effort to respond to an open records request, a systemwide email
(Exhibit 13) informed all units to upload all temperature logs to a shared drive. It appears, from
context, other communications related to the request occurred prior to the creation of this email.
The email, originating from the office of a Correctional Institutions Division Deputy Director,
instructed units to upload the logs and, " ... please ensure an IOC justification is submitted for each
missing date and scanned in order with that month's logs. When your region is complete and logs




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              RESULTS OF INVESTIGATION

have been checked for accuracy by the regional office, please notify our office. Please have this
information uploaded by August 19." It is my opinion the use of the word "justification" may
have induced a perceived pressure related to being unable to locate logs.

In response to the email, unit staff collected the logs for the dates requested. However, staff
reported there were logs the unit could not locate or had been defaced (e.g., doodles, stick figure
cartoons, etc.) by staff working the duty post. According to this discussion, the unit's approach
was to "recreate" these logs by either approximating the hourly temperatures using other sources
such as logs for the same date from two other local units or directly copying those that had been
defaced. In fact, the unit file coversheet for July 2022 ,_ _ __, contained a bracketed note, "Gist
and LeBlanc logs for 7/7 to 7/11 for review" and logs in the Stiles unit file for those dates ,===
   have headings from these units. However, upon comparison, often, they did not align with the
documents that were uploaded. It should be noted that July 12, 2022, was not on this coversheet.

In addition, it appears several unit employees were assigned to compile the missing or defaced
logs, including the Risk Manager and Administrative Directive - 10.20 Officer. Specifically,
evidence supports the Risk Manager (Shahnawazshah Sayed) compiled the documents and the
Administrative Directive 10.20 Officer (Stacy Smith) provided testimony regarding the method to
address missing or defaced documents. Circumstances suggest they may have been among those
physically creating the documents. However, I believe others were involved but could not identify
them. The most likely explanation for the two separate but identical falsified logs dated July 12,
2022, as noted above, is that two staff members independently chose that date to address. One
version was uploaded to the shared drive, while the other was retained in the unit file, without
either staff member being aware of the other's actions. This duplication appears to have been
undetected until this investigation.

While it is conceivable the involved employees acted of their own accord when "recreating" these
documents, it is unlikely they would have done so without knowledge and/or consent of unit
administrators (Exhibit 14). Ultimately, I believe responsibility for ensuring an accurate response
resided with the senior warden, who is no longer employed by the agency. Both the Unit Risk
Manager and Administrative Directive - 10.20 Officer have since been promoted and, according
to the testimony of their superiors, are valued employees.

As an additional observation, the July 12, 2022 log was not the only document with irregularities
regarding temperature. For example, the log for June 8, 2022 (Exhibit 15) recorded the
temperature as 84 degrees for the entire day, without variation, when in fact, the temperature
ranged from 76 to 91 degrees. As an additional example, the July 31, 2022, log,=="'-"-~
recorded the temperatures between 3:30 and 5:30 a.m. as 60, 59, and 58 degrees, respectively,
while the lowest actual recorded temperature for that day was 76 degrees.




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                  EVIDENTIARY EXHIBITS

          Exhibit 1: July 12, 2022 Log Entered into Evidence (Return to Page 2)



                                                                                              AD-Ul.64 (rcY. 10)
                                                                                                  Attachment C




                   TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                              Temperature Log
                                        UNIT: MARK W. STILES




     2:30a.m.
     3:30 a.m.
     4:30 aun.
     5:30 a.m.
     6:30 a.m.
----· - - -
     7:30 a.m.



    10:30 a.m.
    H:30 a.m.
    12:30 p.m.
     1:30 p.m.
     2:30 p.m.
     3:30 p.m.
     4:30p.m.
            --~-
     5:30 p.m.
     6:30 p.m.
     7:30 p.m.
     8:30p.m.
     9:30 p.m.
          "-----+--_;:;----,,~+--
    l0:30 p.m.
    11:30 p.m.
• Temperatures between 51 and 79 degrees Fahrenheit (°F) are riot represented on the Wind Chill Index {Attachment
  A) or the Heat and Humidity Index (Attachment B). Indicate (NIA) in these fields when applicnblti.




                                                                                                          TIEDE_DEF0168228
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                      EVIDENTIARY EXHIBITS

                  Exhibit 2: July 12, 2022 Log Found in Unit File (Return to Page 2)


                   TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                                           Temperature Log
                                      Un.it:




     2:30a.m.
     3:30 a.m.
     4:30 a.m.
     5:30 Lm.
     6:30 a.m.
     7:30Lm.
___
  8:30a.1n.
         ,


  9:30Lm.
---       ---
 10:38 a.m.




    11:30 p.m.
• Tcmpentwes between 51 and 79 degree, F'ahrenheit (oP) are not reprcser::ited, on the Wind Chill Index (Attachment
  A) or 1ht Heat ml Humidity Index {.AUKbment B), Inclicate (ff./A) in these fields when applicable.




                                                                                                            TIEDE_DEF0168229
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                   EVIDENTIARY EXHIBITS



                    TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                                             Teilira~re Log
                                        Unit: (        to
      1:30 a.m.
      2:30 a.m.
      3:30 a.m.
      4:30 a.m.
      5:30 a.m.
      6:30 a.m.
      7:30 a.m.
      8:30 a.m.
      9:30 a.m.
     10:30 a.m.
     11:30 a.m.
     12:30 p.m.
     1:30 p.m.
     2:30 p.m.

      4:30p.m.
      5:30p.m.
      6:30 p.m.
     7:30 p.m.
     8:30p.m.
     9:30p.m.
     10:30p.m.
     11:30 p.m.
* Temperatures between 51 and '79 degrees Fahrenheit (°F) are not represented on the Wind Chill Index (Attachment
  A). or the Heatand Humidity Index (Attachment B). Indicate (NIA) in these fields when applicable.




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              EVIDENTIARY EXHIBITS


                      Stiles Unit- 2nd Shift GP Turnout Roster




                             Hard                                                          Not Filled            Not FIiied
                             Valastro                  45 Corridor Control 18/19           Not Filled            Not FIiied
                             D. Jones                  46 Front Gate                                             Stokes

                             Sales AJ                  47 Gate Control ODR                                       NotFille-d

                             Nzle                      48 Turnout Door A                                         Gabriee\

                             StewartGC                 49 Mobile Patrol                                          Brazil ot

6                            Kazim                                         Gate                    Not Filled             Not Filled
9                            Moukoud! R2                                                                                  Not Filled




                                        !'died                                             NotFiUed
                                        kifed                                              NotFUled'

                                        kHed                                               Not FIiied

                                                                                           Not Filled

                                                       59 Recreation                                Not Filled            Not FIiied

                                                       60 Recreation                                                          Idled
                                                       61 Rotation                                  Not Filled            Not Filled




                                        Idled
                                        Idled
                                        Idled
                                        fdle-d

                                        Idled

                                        Idled




                                                                                                                                      2nd Half




                      Changes to the shift rosters may only be made pursuant to SS-08.05




                                                                                                                              TIEDE_DEF0168231
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          EVIDENTIARY EXHIBITS

          Exhibit 5: July 12, 2022 First Shift Roster (Return to Page 2)

                     Stiles Unit -




                                                                                            EMENIKE 0600-1000

                                                                                            EMEH 0600-1000

                                                                                            NWAZOJIE
                                                       50 Gate Control ODR                  NOT FILLED

                                                       51 Turnout Door A                    SHARP

                                                       52 Turnout Door B                    THEROIT

                                                       53 U!ili   19 MEDIC~A~L~----t=B'-'R"'A~N~T=LEY=-----
                                                       54 Utili   I Hj hwa Gate




                                                       61 Recreation
                                                       62 Recreation
                                                       63 Recreation

                                                       64 Recreation
                                                       65 Recreation

                                                       66 Recreation
                                                       67 Rotation

                                                       68 Rotation

                                                       69 Rotation
                                                       70 Rotatfon

                                       Idled           71 Rotation
                                       Idled           72 Rotation

                                       Idled           73 Rotation

                                       Idled

                                      !died

                                       idled




                     Changes to tha shift rosters- may only be made pursuant to SS..08.05




                                                                                                                  TIEDE_DEF0168232
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                                                                    TIEDE_DEF0168234
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                       EVIDENTIARY EXHIBITS

Exhibit 8: July 8, 2022 Gist Unit Log Found in Stiles Unit File (Return to Page 2) (Return to Page 3)

                           TEXAS DEPARTMENT OF CRJMINAL JUSTICE
                                       TeJper,ture Loe
                                              Unit:

              Date:


            1:30 a.m.
            2:JO a.Ill.
            3:30 a.m.
            4:30 a.m.
            5:30 a.m.
            6:30 a.m.
            7:30 a.m.



            I0:30 a.m.
            11:30 a.m.
            12:JO p.m.
            1:30 p.m.___ _
            2:30 p.m.
            3:30 p.m.
            4:30p.m.
        ____ 5:JO_p_.m_.- - 1 -
             6:JO p..•.
        .____]_530 p.m.
            3:30p.m.
       __,._.3_0 p.m.___
            10:JOp.m.
            11:30 p.m.
       • Tempeniwres between 51 and '19 deiren Fahrellheit (-F) arc llOt n:p1~,r:11tcd on tlle WiI1d Chill b>dcx (Aaachmm1
         A) or the He11t and H11111idity lndn !Anecbmmt B). lndic11tc (NIA) in these field!! when a:pplicd,11,.




                                                                                                                       TIEDE_DEF0168235
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                  EVIDENTIARY EXHIBITS

      Exhibit 9: Example of Log with Attributes of Falsification (Return to Page 2)


                   TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                              Temperature Log
                                       UNIT: MARK W. STILES




     2:30a.m.
    3:30 a.m.
    4:30 a.m.
    S:30 a.m.
    6:30 a.m.
    7:30a.m.
    8:30 a.m.
    9:30 a.m.
    10:30 a.m.
    11:30 a.m.
    12:30 p.m.
    1:30 p.m.
    2:30 p.m.
    3:30 p.m.
    4:30 p.m.
    5:30 p.m.
    6:30 p.m.
    7:30 p.m.
     8:30 p.m.
     9:30 p.m.
    10:30 p.m.
    11:30 p.m.
• Temperatures between 51 and 79 degrees Fahrenheit (°F) are not represented on the Wind Chill Index (Attachment
  A) or the Heat and Humidity Index (Attachment B). Indicate (N/A) in these fields when applicable.




                                                                                                         TIEDE_DEF0168236
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                                                                    TIEDE_DEF0168237
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           EVIDENTIARY EXHIBITS

     Exhibit 11: Logs Not Turned In Attachment to Email (Return to Page 2)

                                              I nwn: uno f.l)(;s
                                             \1 U(I\\\. SHH" I '\ll




                            ,021 __., _,
                             021



                                                       NOT TURNED IN


                 )2·01/202,1 ..................
                  12,02:2021

                  12/10,2021
                  12ill,2021
                  12<'17202l




                                                                                                 TIEDE_DEF0168238
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                                                                    TIEDE_DEF0168239
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                                                       EVIDENTIARY EXHIBITS

                                                                          Exhibit 13: Email to Field (Return to Pa~e 2)

 FW: Request· Logs
                                                                                                                                                                                                        Reply        Reply All    ➔ Fo~1ard      $
            Brittanie Silvertooth-Dugas
                tCnrisOrrito




From: Brittanie Silvertooth-Dugas
Sent: Wednesday, August 10, 10214:12 PM
To: Joel Gauna <loel0il\lnaf dt ;.texas.gov>; Carol Monroe <CJroLMooroeji)td{i,tm,.gw>; Maricia Jachon <ManciaJMh:injrtdcj.teus.gov,; David Blackwell <da:vid.bl,ch:iell/ltdci.teMb'lov>; Stephen B r y a n t < ~ > ;
Denise Williams <Dertisc.Wttliarm@t<lci.te.as.goy>: Andrea Lozada <Andrea.!ornda@tdci.trxas.gw>
Cc: Breanna Weatherspoon <Ureanna,\lfr~oon@tdci.tex_as.p,ov>; Summer Petti~rew <Su111rnecP_ettigrev1.@~xas.gov>; Richard Babcock <8ichard.Ba~cock@td1i,tex,bll)v>; Marisa Lopez <Marisa.Lo~ezftJj:Ltgxas.,&)'.I>; Brenda Pulido
<B<enda.Pulidoptdq.texas~o_11>; Samantha Dodd <Samlntha.Doddj td 1.trnrcgrm; Eric Guerrero<~:,:>; Miguel Martinez <_"4iguel.Mmezjiltdg.texas~ov>; Rhea Shaunty-Docis <llliea.Sh,unty-Doci-,liltdci.tem.gov>;
Lindsey Derden <Lindy;y.llertk•n®dtj.tem.g,m; Samantha Rolfes <SAMANT4A.ROlfEWtdci.tmsROV>; Alecia Dudley <Alern.Dudlry@tdci.te>"'-/IOI'>; Amberly Northcutt <Amb<'r~.'ioi thcuttjiltdtj.tel'.£.gov>
Subject: Request • logs

Good afternoon,

We have received a request for outdoor temperature logs from each unit, January 2011 through July 2022. Iwill be sending you a OneDrive link to yourregion's folder which you will be able to share with the units. All logs will need to be uploaded
into the appropriate folder in order by date.

As before, please ensure an IOC justification is submitted for each missing date and scanned in order with that month's logs. When your region is complete and logs have been checked for accuracy by the regional office, please notify our office. Please
have this information uploaded by August 19, 2022.

Thanlyou,

~o•
Executive Assistant I
Office of Deputy Division Director -CID
936.437.6318




                                                                                                                                                                                                                                 TIEDE_DEF0168240
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                                           EVIDENTIARY EXHIBITS

                           Exhibit 14: Email to Unit Administration of Missing Logs (Return Page 3)

 Temperature Logs Folder Stiles

           Shahnawazshah Sayed
           Te     Christopher Norsworthy; C LaShaunda Fisher;   Chibuike Oriwuk.a; 0 Cedric Washington;• Zachary Oavic;; 0 Krio;tema Davis


  ~!"1 ;~:rrnture Logs Report.docx v

Here's a OneDrive link. to ICimPcr■turc Lt>g~.

\Varden Norsworthy/ Fisher/ Onv,ruka
CC: Major Washington/ Davis! Sgt. Davis


Please find attached Temperature Logs Folder link for Stiles Unit for your kind revie\.v.


-Attachments:    L Temperature Logs Report for any temperature logs not turned in for review as well
                2. Temperntw·e Logs from June 2021 to April 2022 and June~2022. July-2022 for revie,.v a1 well




                                                                                                                                                       TIEDE_DEF0168241
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            EVIDENTIARY EXHIBITS

   Exhibit 15: June 08, 2022 Log With Erroneous Temperatures (Return Page 3)



             TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                               Temperature Log                   .....
                           Unit:




                                                                               TIEDE_DEF0168242
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                    EVIDENTIARY EXHIBITS

        Exhibit 16: July 31, 2022 Log With Erroneous Temperatures (Return Pas 1)


                  TEXAS DEPARTMENT OF CRIMINAL JUSTICE
                              Temperature Log
                           Unit:      Mark W. Stiles




     2:30 a.m.
     3:30 a.m.
     4:30 a.m.
     5:30 a,m.
     6:30 a.m.
     7:30 a.m.
     8:30 a.m.
     9:30 a.m.
    10:30 a.m.
    11:30 a.m.
    12:30 p.m.
     1:30 p.m.
     2:30 p.m.
     3:30 p.m.
     4:30 p.m.
     5:30 p.m.
     6:30 p.m.
     7:30 p.m.
     8:30 p.m.
     9:30 p.m.
    10:30 p.m.
    11:30 p.m.
* Temperatures between 51 and 79 degrees Fahrenheit (°F) are not represented on the Wind Chill Index Attachment
  A) or the Heat and Humidity Index (Attachment B). Indicate (NIA) in these fields when applicable.




                                                                                                      TIEDE_DEF0168243
